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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
NIKE, INC. and CONVERSE INC.,                             :
                                                          :
                           Plaintiffs,                    :
                                                          : No. 2013 Civ. 8012
         -against-                                        :
                                                          : ORAL ARGUMENT REQUESTED
MARIA WU d/b/a
                                                          :
WWW.SHOECAPSXYZ.COM, et al.,
                                                          :
                           Defendants.                    :
                                                          :
----------------------------------------------------------x




 MEMORANDUM OF LAW IN OPPOSITION TO THE MOTION TO QUASH FILED
 BY THIRD-PARTY CHINESE BANKS AND IN SUPPORT OF CROSS-MOTION TO
               COMPEL PRODUCTION OF DOCUMENTS




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        Next Investments, LLC (“Next”), Assignee to the Judgment1 awarded to Plaintiffs Nike,

Inc. and Converse, Inc., respectfully submits this memorandum of law in opposition to

nonparties’ Agricultural Bank of China (“ABC”), Bank of Communications Limited

(“BOCOM”), China Construction Bank (“CCB”), China Merchants Bank (“CMB”), and

Industrial and Commercial Bank of China (“ICBC”) (the “Moving Banks”) motion to quash

subpoenas and to modify the October 20, 2017 Final Order (the “Final Order”) and in support of

its motion for an order compelling the Moving Banks and the Bank of China (“BOC”) (together,

the “Banks”) to produce the records and account documents related to Judgment Debtors as

called for in the November 30, 2017 Subpoenas (the “Subpoenas”).

                                  PRELIMINARY STATEMENT

        This dispute arises from efforts to enforce this Court’s August 20, 2015 judgment (the

“Judgment”) against a ring of international counterfeiters who targeted U.S. consumers for sales

of fake Nike and Converse Products and used U.S banking and credit card processing services to

facilitate their illegal sales and hide the proceeds of their operations. All of the Banks now

before the Court appeared in this action previously, when the case was supervised by the

Honorable Shira Scheindlin, to oppose entry of the Judgment, arguing that this Court lacked the

power to freeze the counterfeiters’ assets anywhere in the world. See ECF No. 47. Citing to the

Second Circuit decision in Gucci v. Bank of China, 768 F.3d 122 (2d Cir. 2014) (“Gucci 2d

Cir.”), Judge Scheindlin rejected the Banks’ arguments and entered the Judgment freezing the




 1
     Plaintiffs assigned to Next, as Assignee, all of their “rights, obligations and interests in and to
     the Judgment” through an Assignment Agreement executed January 18, 2017 (the
     “Assignment”). Next filed the Assignment with this Court on January 31, 2017 (ECF No.
     50). On February 6, 2017, February 9, 2017 and February 15, 2017, Next served Judgment
     Debtors with the Assignment in accordance with this Court’s prior orders authorizing
     alternative service. (ECF Nos. 51 & 52).

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counterfeiters’ assets. Neither the Banks nor the counterfeiters appealed the entry of Judgment.

Now, the Moving Banks seek to re-litigate the same issues that were previously decided by

Judge Scheindlin and several other Courts in this District.

       Regretfully, the entry of the Judgment was not the end of this matter. Many of the

Judgment Debtors simply moved their illegal counterfeiting operations to new websites. On

October 20, 2017 this Court held certain Judgment Debtors in contempt and enjoined 566 new

websites from continuing to violate both the Lanham Act and the injunction contained in the

Judgment, and authorized a new round of discovery.

       In order to enforce the Court’s orders, Plaintiffs and Next sought discovery from credit

card companies, payment processors, and correspondent banks that participated in the movement

of the illegal U.S. dollar proceeds. The Second Circuit has explicitly endorsed this tactic: “It is

not uncommon to seek asset discovery from third parties, including banks, that possess

information pertaining to the judgment debtor’s assets.” EM Ltd. v. Republic of Argentina, 695

F.3d 201, 207 (2d Cir. 2012), aff'd sub nom. Republic of Argentina v. NML Capital, Ltd., 134 S.

Ct. 2250 (2014). Indeed, “broad post-judgment discovery . . . is the norm in federal and New

York state courts.” Id. These efforts led directly to the Banks now before the Court. Next

served the Subpoenas only after receiving documentary evidence tying each of the Banks to the

payment trail through which the counterfeiters operated and continued to operate their illegal

business.

       Instead of expressing their shock that the counterfeiters were using accounts at their

institutions to operate an illegal business in the U.S. and offering to help root out the illegal

money laundering, the Banks have stonewalled and refused to turn over any records of the

counterfeiters’ movement of funds, save for a handful of records that BOC designates as




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maintained by one of its New York branches. The Banks have even refused to produce records

of wire transfers to the counterfeiters’ accounts through the numerous clearing accounts that each

Bank maintains at major banks located in New York. None of the excuses offered by the Banks

withstands scrutiny.

       First, the Banks cling to the fiction that their New York branches are somehow distinct

for the purposes of this analysis. See Chung Decl. Exs. 2, 6, 7, 9; Weigel Decl. Exs. 124-26. But

there is no real dispute—and courts in this District have recognized—that these New York

branches are not separately incorporated and do not have any independent legal status. See

Tiffany (NJ) LLC v. Forbse, 2012 WL 1918866, at *11 (S.D.N.Y. May 23, 2012) (“the Banks’

New York branches are not subsidiaries of a foreign parent company, but rather are branches of

the same corporate entities as their counterparts in China”). The Subpoenas at issue were

properly directed to each of the Banks themselves, not just their New York branches. As a

result, there is no basis for the Banks’ unilateral refusal to comply with the Subpoenas on the

basis that they designate most of the relevant records as based at their branches in China.

       Second, the Moving Banks incorrectly claim that they are not subject to specific personal

jurisdiction in New York. The Moving Banks’ papers, however, fail to disclose that they each

transact business in New York as that term is used in CPLR 302(a)(1), not only through their

physical presence here, but also through the use of numerous clearing accounts at major banks in

New York to facilitate the wire transfers that are directly at issue. See Licci v. Lebanese Can.

Bank, SAL, 20 N.Y.3d 327, 339 (2012) (“Licci III”) (“a foreign bank’s repeated use of a

correspondent account in New York on behalf of a client-—in effect, a ‘course of dealing’—

show purposeful availment of New York’s dependable and transparent banking system, the

dollar as a stable and fungible currency, and the predictable jurisdictional and commercial law of




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New York and the United States.”). Worse, the Banks have apparently attempted to hide from

this Court the fact that literally hundreds of wire transfers were sent to the Judgment Debtors’

accounts through the Banks’ clearing accounts at other New York institutions, and that several of

the Banks provided the very credit card processing services that allowed the Judgment Debtors to

sell their illegal products to U.S. residents. The Banks’ deliberate and recurring use of New

York’s banking facilities and their purposeful ties to New York are more than sufficient to

establish a statutory basis for personal jurisdiction over the Banks and to enforce the Subpoenas.

See Gucci Am., Inc v. Weixing Li, 135 F. Supp. 3d 87, 95 (2015) (“Gucci II”) (the “frequent and

deliberate use of a domestic correspondent account to execute international wire transfers [is]

enough to constitute transacting business in New York”); Licci ex rel. Licci v. Lebanese Can.

Bank, SAL, 732 F.3d 161, 171 (2d Cir. 2013) (“Licci IV”) (a foreign bank’s “use of a

correspondent account in New York to accomplish its dollar-denominated wire transfers” as an

“instrument for accomplishing the alleged wrongs for which the plaintiffs seek redress,

constitutes purposeful availment of the privilege of doing business in New York”).

       Third, the Moving Banks are also incorrect that the principle of international comity

allows them to evade their discovery obligations to this Court. For the exact same reasons

previously articulated by judges of this Court and affirmed by the Second Circuit, the required

comity analysis strongly supports ordering direct discovery from banks that use their physical

presence in the U.S. and access to the U.S. banking system to facilitate the transfer of assets tied

to the proceeds of counterfeiting. U.S. courts have a strong interest in enforcing their lawful

judgments, as well as in protecting U.S. consumers and intellectual property owners by enforcing

the Lanham Act. Because Chinese counterfeiters can re-establish infringing websites with ease,

the only way to meaningfully curb these counterfeiting operations is to shed light on the




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mechanisms that counterfeiters use to hide their ill-gotten gains. The Banks here voluntarily

chose to do business with the counterfeiters and maintained the accounts that the counterfeiters

use to hold the U.S.-dollar proceeds of their illegal operations. Moreover, the Moving Banks are

demonstrably wrong that they will face dire consequences in China if they comply with this

Court’s orders. The clear record shows that the Banks are heavily owned and controlled by the

Chinese government and that Chinese banks have previously produced bank records in similar

U.S.-court actions without any reports of serious consequences to the Banks. That is why the

Second Circuit held that if specific personal jurisdiction could be obtained over the BOC it was

appropriate to compel the BOC to produce documents just like those sought here. Gucci 2d Cir.,

768 F.3d at 141 (“We discern no abuse of discretion in this analysis and conclude that BOC’s

arguments to the contrary are without merit.”).

       For each of these reasons, Next respectfully requests that Court deny the Moving Banks

pending motion and instead grant its cross motion to compel.

                                        BACKGROUND

       The Judgment Debtors in this action are serial counterfeiters who engaged in a long-term,

wide-reaching counterfeiting operation through which they willfully misappropriate the

renowned Nike and Converse trademarks. The Judgment Debtors have used thousands of

websites to sell products bearing exact copies of Plaintiffs’ trademarks and have opened

hundreds of bank accounts to harbor their ill-gotten proceeds. (ECF Nos. 7, 10). At every turn

in this action, Judgment Debtors have failed to dispute Plaintiffs’ allegations (ECF. No. 34), and

they willfully continue to violate the Lanham Act and evade this Court’s Orders to this day.

(ECF Nos. 60, 61) (sealed documents submitted in support of Next’s Order to Show Cause).




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       Plaintiffs previously moved this Court for a default judgment against all Judgment

Debtors. (ECF Nos. 37-40). The Banks opposed the proposed Judgment arguing that Plaintiffs

were “not entitled to the post-judgment extraterritorial asset-freezing injunction.” (ECF No. 47).

The Court rejected the Banks’ arguments because “the Court needs only personal jurisdiction

over the defendants, not the Banks” and the Banks’ objections were not “ripe given that the

Proposed Default Judgment [wa]s directed entirely at defendants and seeks no enforcement

against the non-party Banks” (ECF No. 48), and granted the Judgment. (ECF No. 49).

       The Judgment continued to restrain all of Judgment Debtors’ assets and provided that

“any other of [Judgment Debtors’] Assets that Plaintiffs identify in the future . . . shall be subject

to the asset restraint provisions set forth herein, regardless of whether the Defendants’ Assets are

located in the United States or abroad.” Id. ¶ 11. The Banks received notice of the Judgment.

See Declaration of Robert Weigel, dated March 16, 2018 (“Weigel Decl.”) Ex. 254.

       Because Judgment Debtors continued to violate the terms of the Judgment, Next applied

for an Order to Show Cause why Judgment Debtors should not be held in contempt of court and

finding that Judgment Debtors’ additional email addresses, websites and bank accounts were

subject to the terms of the Judgment. Unlike the proposed Judgment, the Banks did not oppose

the Order to Show Cause. On October 20, 2017, the Court granted Next’s Order to Show Cause

and entered into the Final Order. (ECF No. 62).

       The Final Order provides that the Banks are “restrained and enjoined from transferring,

withdrawing or disposing of any money or other assets into or out of any accounts held by,

associated with, or utilized by Judgment Debtors . . . regardless of whether such money or assets

are held in the U.S. or abroad.” Final Order ¶ 4. The Final Order also provides that “Plaintiffs

may continue to seek expedited discovery by providing actual notice of this order to any banks




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[or by service of a subpoena] . . . . [and the Banks] must provide to Next’s counsel all documents

and records in their possession, custody or control, whether located in the U.S. or abroad,

relating to any financial accounts” held by Judgment Debtors. Id. ¶¶ 8–10. Next served the

Final Order on the Banks. See Chung Decl. Ex. 4; Weigel Decl. 103, 123.

        In accordance with the orders issued by this Court throughout the course of this litigation,

Plaintiffs and Next have sought discovery and served subpoenas on the credit card companies

and payment processors that the Judgment Debtors used to consummate their contumacious

transactions, and received productions in response. See ECF No. 3 ¶¶ 15–16; ECF No. 14 ¶¶ 8–

10; ECF No. 49 ¶ 13; ECF No. 62 ¶¶ 8–10; Weigel Decl. Ex. 257. Those productions confirmed

that Judgment Debtors held assets at the Banks and were transferring their assets from U.S.

processors to the Banks now before the Court and that certain of the Banks were actually

responsible for processing—and thus enabling—the Judgment Debtors’ sales of counterfeit

goods. See Weigel Decl. Exs. 245-47, 256; Nagin Decl. Exs. 1 & 2.

        On November 30, 2017, Next served the Subpoenas at issue on the Banks at their New

York branches requesting information related to Judgment Debtors’ accounts and operations.

See e.g., Chung Decl. Ex. 11; Weigel Decl. Exs. 125-126. The Banks served responses and

objections to the Subpoenas and refused to produce any documents not located at their New

York branches, despite the plain language of the Final Order and the Subpoenas. See Weigel

Decl. Exs. 3, 32, 48, 82, 102, 127-28.2



 2
     Next met and conferred with the Banks’ counsel but were unable to resolve the issue. The
     Moving Banks claim they have searched their records in New York and have found no
     responsive documents. See Chung Decl. Ex. 9. However, the Moving Banks have not
     indicated why they cannot produce records relating to their own correspondent accounts
     located in New York. See id. These records are undoubtedly within the Moving Banks’
     possession, custody, and control and should have been produced. While BOC produced
     limited documents held in its New York branch, this production was limited to “responsive


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                                          ARGUMENT

A.      The Final Order Should Not Be Modified.

        The Moving Banks ask this Court to modify the Final Order “insofar as it purports to

apply outside of New York.” ECF No. 71 at 25. This is nothing more than an improper attempt

to re-litigate issues that have been previously decided by this Court and confirmed as settled law.

As Judge Scheindlin found, once the Court has personal jurisdiction over the counterfeiters it can

freeze the counterfeiters’ assets anywhere in the world. (ECF No. 48) at 3-4 (citing Gucci 2d

Cir., 768 F.3d at 129).

        1.     The Moving Banks Improperly Attempt to Re-Litigate An Issue Previously
               Decided Against Them In This Action.

        “The law of the case doctrine commands that ‘when a court has ruled on an issue, that

decision should generally be adhered to by that court in subsequent stages in the same case’

unless ‘cogent and compelling reasons militate otherwise.’” Johnson v. Holder, 564 F.3d 95, 99

(2d Cir. 2009) (quoting U.S. v. Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002)). Here, the Banks

previously argued to Judge Scheindlin that the Judgment should not contain an asset restraint

provision. See ECF No. 47. Judge Scheindlin rejected those arguments in her August 20, 2015

Order granting Plaintiffs’ Motion for Default Judgment. See ECF No. 48. In particular, Judge

Scheindlin held that (1) the Court needed only personal jurisdiction over defendants, not the

Banks, to issue the Judgment, (2) a comity analysis was premature because the Judgment was not

directed at the Banks, and (3) that another case cited by the Banks, Motorola Credit Corp. v.

Standard Chartered Bank, 24 N.Y.3d 149 (2014), had no effect on the Court’s ability to grant the

Judgment. The Banks did not appeal either the August 20, 2015 Order or the Judgment.


     wire transfer records” where BOC has acted “in its capacity as [an] intermediary bank.”
     Weigel Decl. Ex 128. However, this production did not contain any documents related to
     Judgment Debtors’ accounts.


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        The Banks now argue that this Court should modify the Final Order because New York’s

“separate entity rule” prevents the enforcement of an extraterritorial asset restraint. See ECF No.

71 at 17-18 (citing Motorola, 24 N.Y.3d at 158). This is precisely the argument that Judge

Scheindlin rejected. See ECF No. 48 at 2, 4. The Banks appear to be arguing that the Court

should revisit this issue because the Final Order is an “extraterritorial application of the post-

judgment restraint” rather than the restraint itself. ECF No. 71 at 18. But that is not correct.

The Final Order, same as the Judgment, is directed entirely at Judgment Debtors and seeks no

enforcement against the Banks. Compare ECF No. 49 ¶¶ 10-11 with ECF No. 62 ¶ 4. Next is

not currently seeking an order compelling the Banks to turn over their proceeds, simply

discovery into the assets that the Banks currently hold for the Judgment Debtors. See, e.g.,

Chung Decl. Ex. 11. As a result, the situation is no different than when Judge Scheindlin

previously held that the Banks’ arguments were premature. See ECF 48 at 2, 4.

        As a result, the Banks’ attempt to re-litigate these issues is improper. See Official Comm.

of Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2d

Cir. 2003) (“where litigants have once battled for the court’s decision, they should neither be

required, nor without good reason permitted, to battle for it again.”). The time for a motion for

reconsideration of this issue is long past.3

        2.      The Moving Banks Offer No Substantive Reason to Revisit the Final Order.

        Even if the Moving Banks had brought a proper motion for reconsideration, there are no

changed circumstances that would require a limitation on the current asset restraint. It is beyond

reasonable dispute that New York law expressly permits this Court to issue a post-judgment asset




 3
     See S.D.N.Y. Local Civil Rule 6.3 (setting a deadline of fourteen (14) days after the entry of
     an order or judgment).


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restraint. See N.Y. C.P.L.R. § 5222; ECF No. 43 at 2.4 In fact, the Banks previously admitted

that courts have authority to issue post-judgment restraining orders with extraterritorial effect

against judgment debtors pursuant to New York law. See ECF No. 43, at 2 (“restraining orders

under Section 5222 may apply extraterritorially as against judgment debtors”). The Second

Circuit and other courts have expressly held that a court need only “personal jurisdiction over the

defendants, not the Bank[s],” to issue an asset freeze injunction. Gucci 2d Cir., 768 F.3d at 129

(finding that Judge Sullivan did not abuse his discretion when he held that “[t]he fact that some

of the funds subject to the Injunction are located outside of the United States does not, contrary

to the Bank’s arguments, deprive the Court of authority to issue the asset restraint.” Gucci v. Li,

2011 WL 6156936, at * 4 (S.D.N.Y. Aug. 23, 2011) (“Gucci I”)); Tiffany (NJ) LLC v. China

Merchants Bank, 589 Fed. App’x. 550, 552 (2d Cir. 2014) (same).

        The Moving Banks’ reliance on the New York Court of Appeals decision in Motorola is

substantively misplaced. In Motorola, the Court of Appeals considered the “narrow question” of

whether the separate entity rule precludes a judgment creditor from obtaining “postjudgment

restraint of assets situated in foreign branch accounts” when jurisdiction over the bank is “based

solely on the service of a foreign bank’s New York branch.” 24 N.Y.3d at 162 & n.2. Motorola

said nothing about a Federal Court’s power to restrain a counterfeiter’s assets pursuant to the

Court’s equitable power under the Lanham Act. Where, as here, there is no question that the

Court has jurisdiction over the Judgment Debtors, the well-settled rule remains that it is

“irrelevant whether the district court has personal jurisdiction over” the Banks or their foreign

branches when issuing an asset restraint. See NML Capital, Ltd. v. Republic of Argentina, 727




 4
     See also Fed. R. Civ. P. 69 (“proceedings supplementary to and in aid of judgment execution
     . . . must accord with the procedure of the state where the court is located”).


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F.3d 230, 243 (2d Cir. 2013); see also Forbse, 2012 WL 1918866, at *11 (finding the separate

entity rule to be “simply not relevant” when issuing an asset restraint).

        Motorola is also inapposite because of this Court’s personal jurisdiction over the Banks

themselves. See infra Section B. In Koehler v. Bank of Bermuda, Limited, the Court of Appeals

established that a court may order a foreign garnishee bank branch to turn over or restrain a

judgment debtor’s assets so long as it has personal jurisdiction over the bank. 12 N.Y.3d 533,

541 (2009) (A “New York court with personal jurisdiction over a defendant may order him to

turn over out-of-state property regardless of whether the defendant is a judgment debtor or a

garnishee.”) (emphasis added). Nothing in Motorola purports to overrule this proposition and

the Court of Appeals expressly distinguished Koehler because there the “New York courts had

secured personal jurisdiction over” the garnishee bank. Motorola, 24 N.Y.3d at 159, 161-62.5

Moreover, in Gucci the Second Circuit expressly held that “the district court may be able to

require BOC’s compliance with the Asset Freeze Injunction by exercising specific jurisdiction.”

Gucci 2d Cir., 768 F.3d at 136.

B.      The Banks’ Contacts with New York Give Rise to Specific Jurisdiction.

        New York’s long-arm statute provides that a court may exercise personal jurisdiction

over the Banks if (1) the Banks transacted any business within the state, satisfying the

“purposeful availment” prong, and (2) this cause of action arises from the Banks’ business

transactions, satisfying the “nexus” prong. See Gucci II, 135 F. Supp. 3d at 93 (quoting Licci ex

rel. Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 60 (2d Cir. 2012) (“Licci II”)); see also

N.Y. C.P.L.R. § 302(a)(1). In addition, the Banks must have “minimum contacts” with New


 5
     Motorola also is irrelevant to the enforcement of a subpoena. Gucci II, 135 F. Supp. 3d at 96
     (“[W]here the remedy sought is . . . subpoena, the separate entity rule had not barred
     enforcement; rather only personal jurisdiction over the legal entity, the bank and its branches,
     is necessary.”).


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York such that “the maintenance of the suit does not offend the traditional notions of fair play

and substantial justice.” Licci IV, 732 F.3d at 169 (quoting Int’l Shoe Co. v. Washington, 326

U.S. 310, 316 (1945)). Here, all these elements are present.

        1.      The Banks’ Use of New York Correspondent Accounts Gives Rise to Specific
                Personal Jurisdiction To Enforce the Subpoenas.

        In Gucci v. Li, Judge Sullivan found that this Court has specific personal jurisdiction to

order discovery from the Bank of China to produce records related to counterfeiters in China

who made use of BOC accounts because BOC “deliberately thrust [] itself into the New York

financial market” by opening correspondent accounts with New York banks “to repeatedly

facilitate the transfer of money from” accounts held by counterfeiters like the Judgment Debtors

here. 135 F. Supp. 3d at 95.6 The Moving Banks argue that Judge Sullivan’s decision is not

applicable here because Next’s position that “the Judgment Debtors routed their ill-gotten funds

to China . . . via correspondent accounts held by the Banks in New York” is only “wishful

thinking.” ECF No. 71 at 13. But the Banks have been less than candid with the Court.

        Next has obtained irrefutable evidence, from the correspondent banks themselves, that

BOC, BOCOM, CCB, CMB and ICBC have collectively facilitated at least 600 wire transfers

through the Banks’ New York–based correspondent accounts, and total at least $3.6 million. See

Weigel Decl. Exs. 33, 49-62, 83-85, 104-08, 129-219; see also id. Exs. 1, 249 (indicating the

Banks maintain correspondent accounts in New York); Grossbaum Decl. Ex. 2.7 These transfers



 6
     The Second Circuit rejected the Bank of China’s appeal of Judge Sullivan’s order. No. 15-
     3850 (2d Cir. Jan. 12, 2016), appeal withdrawn (2d Cir. Feb 16, 2016).
 7
     Although the bulk of these wire transfers went through BOC, the other listed Banks each
     have multiple transfers except for BOCOM which has a single identified transfer.
     Grossbaum Decl. Ex. 2. As discussed below, ABC, BOC and BOCOM are separately
     subject to personal jurisdiction because they provided credit card processing services to these
     counterfeiters.


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were all routed to one of Judgment Debtors’ accounts listed in the Judgment and the Final Order.

       The New York Court of Appeals has held that “a foreign bank’s repeated use of a

correspondent account in New York on behalf of a client—in effect, a ‘course of dealing’—show

purposeful availment of New York’s dependable and transparent banking system, the dollar as a

stable and fungible currency, and the predictable jurisdictional and commercial law of New York

and the United States.” Licci III, 20 N.Y.3d at 339. In Licci the foreign bank conducted dozens

of wire transfers through its New York-based correspondent account. Id. at 332. Here, the

Banks have repeatedly used their correspondent accounts at JPMorgan Chase, Citibank, and

elsewhere in New York to effectuate hundreds of Judgment Debtors’ wire transfers between the

U.S. and China. See Weigel Decl. Exs. 33, 49-62, 83-85, 104-08, 129-219. The Banks did not

disclose the identified wire transfers and certainly do not represent that there are not others. Just

as in Gucci, these wire transfers were crucial components of the counterfeiters’ operations and

were only made possible because of the use of these correspondent accounts; the correspondent

accounts are “[c]ritical to serving” the Judgment Debtors, as they allow BOC, BOCOM, CCB,

CMB and ICBC “to conduct secure, efficient, and quick wire transfers” of Defendants’ ill-gotten

profits. Gucci II, 135 F. Supp. 3d at 95. The Banks can offer no good faith reason why the

counterfeiters in this case are differently situated to the counterfeiters in Gucci. Both collect

money from U.S. consumers by processing orders through their websites, and then transfer the

proceeds to the Banks’ accounts, knowing their victims will be unable to readily pursue them.

       The Banks, moreover, did not simply maintain their correspondent accounts but

“encouraged [their] clients to rely on [their] relationships with [the Correspondent Banks] so that

they could effectuate frequent wire transfers from the United States to China, which is exactly

what [Judgment Debtors] did here.” Id. For example, BOC boasts that “it ranks tenth in the




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volume of U.S. dollar clearing transactions, making it the largest Chinese-funded financial

institution in the United States,” Weigel Decl. Ex. 234, and that since “New York is reliable,

globally linked, and convenient” BOC can offer its customers “a wide network of correspondent

banks around the word.” Id. Ex. 236. ICBC similarly brags that it “has taken all necessary steps

to set up a US dollar Clearing Center in New York in an effort to improve the standard of

clearing services” by setting up “correspondent banking relationships.” Id. Ex. 116. Additional

examples are summarized in Exhibit 1 to the accompanying Declaration of Alexandra

Grossbaum, dated March 16, 2018 (“Grossbaum Decl.”), and examples can be found in the

Weigel Declaration. See Weigel Decl. Exs. 17-31 (ABC’s websites); 41-47 (BOCOM’s

websites); 70-80 (CMB’s websites); 92-101 (CCB’s websites); 116-22 (ICBC’s websites); 233-

44 (BOC’s websites). As a result, there is an undeniable nexus between Next’s Subpoenas and

the conduct of BOC, BOCOM, CCB, CMB and ICBC.

        2.      There Is Ample Additional Evidence That The Banks Purposefully Availed
                Themselves of The Benefits Of Conducting Business in New York.

        While the courts in Licci determined that the repeated use of a correspondent account is

sufficient, by itself, to constitute transacting business in New York, there is ample additional

evidence to support exercising personal jurisdiction over the Banks. Here, as in Gucci, the

Banks’ conduct “is, if anything, even more substantial, deliberate and recurring than that of the

foreign bank in the Licci cases.”8 Gucci II, 135 F. Supp. 3d at 94. Given the voluminous

evidentiary record of the Banks’ connections to New York, it is only possible to provide the

barest of summaries in this brief. A breakout of the connections relevant to each Bank is set

forth as Exhibit 2 to the Grossbaum Declaration.


 8
     While not all of the Banks have each piece of evidence described in this Section, the totality
     of evidence, as detailed in the Weigel and Grossbaum Declarations, indicate that each Bank
     has purposefully itself of the benefits of conducting business in New York.


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        New York Ties. Critically, unlike the Lebanese Canadian Bank in Licci, the Banks all

have branches in New York, see Weigel Decl. Exs. 8, 35, 68, 75, 81, 115, 222; see also ECF No.

71 at 5, own real property in New York, id. Exs. 4, 34, 63, 87, 109, 225, and are participants in

the Clearing House Interbank Payments System (“CHIPS”) based in New York, id. Exs 7-8, 38-

39, 66, 89, 113, 228, as well as the Federal Reserve’s Fedwire Funds Service, id. Exs. 11, 40, 67,

90, 114, 230.9 ABC, BOC, CMB and ICBC hold mortgages on properties in New York. Id. Exs.

5, 36, 64, 112, 227. ABC, BOC, CCB, CMB and ICBC are registered with the New York

Department of Financial Services (“DFS”) to do business in New York, as required by N.Y.

Banking Law § 200 (requiring a foreign bank to register and obtain a license from the

Superintendent of the DFS). See id. Exs. 14, 68, 69, 115, 231; see also id. Exs. 15-16. ABC,

CCB, CMB and ICBC are chartered institutions with New York State, Weigel Decl. Ex. 2, and

BOC and ICBC are insured by the FDIC, id. Exs. 110, 223-224.

        Role as Acquiring Bank. In addition, ABC, BOC, BOC Credit Card (International)

Limited (“BOC Credit Card”), a subsidiary of BOC, see Weigel Decl. Ex. 232, and BOCOM

have also acted as acquiring banks for Judgment Debtors’ infringing websites. See Weigel Decl.

Exs. 245-47; 256; Nagin Decl. Ex. 2. “[A]n acquiring bank helps to process online purchases by

serving as an intermediary between the online merchant and a credit card network such as Visa”

and Mastercard. Forbse, 2012 WL 1918866, at *2 (ordering BOC to comply with the discovery

order because the “the bank’s [] role as the acquiring bank for infringing websites tips the

balance of the analysis in favor of” forcing compliance with Plaintiff’s subpoenas).




 9
     CHIPS is headquartered in New York and “selects New York Law as applicable to fund
     transfers involving a CHIP payment message.” Weigel Decl. Ex. 9; see also id. Ex. 10. The
     Banks are deemed to be located in New York anytime they receive wire transfers via
     Fedwire. Id. Ex. 13; see also id. Ex. 12.


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       At least one leading New York-based credit card company has already produced

transaction data for some of the Judgment Debtors, proving that they have an expansive business

in the United States. See Nagin Decl. Exs, 1 & 2. BOCOM and BOC Credit Card used the

system established by that leading credit card company to process credit card transactions for

Judgment Debtors, therefore transacting business in New York. See Weigel Decl. Ex. 256; see

also Nagin Decl. Ex. 2. The agreement also provides that New York law governs those

agreements and that the Banks consent to personal jurisdiction in New York for all disputes

arising out of those agreements. Id. Ex. 1; see also Weigel Decl. Ex. 255; see also id. Ex. 248.

A subpoena to another leading New York-based credit card company remains pending.

       As another court in this District has noted, acquiring banks often are required to perform

due diligence on the merchants with whom they do business, making it extremely likely that

ABC, BOC, BOCOM and BOC Credit Card “have valuable information on the identity, business

activities, and even location of one or more [Judgment Debtors].” Forbse, 2012 WL 1918866, at

*2, *5. These banks “may very well possess information that will enable [Plaintiff] to discover

defendants’ identities or even recover a portion of defendants’ illicit profits.” Id. at *11.

       3.      The Banks’ New York Contacts Relate Directly to this Litigation.

       Specific jurisdiction focuses on “affiliation between the forum and the underlying

controversy” and the “issues deriving from, or connected with the very controversy.” Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). Contrary to the Moving

Banks’ assertions, the nexus prong of § 302(a)(1) “does not require a causal link between [the

Banks’] New York business activity and a plaintiff’s injury. Instead, it requires ‘a relatedness

between the transaction and the legal claim such that the latter is not completely unmoored from

the former, regardless of the merits of the claim.’” Licci IV, 732 F.3d at 168-69 (emphasis

added) (citing Licci III, 20 N.Y.3d at 339). This “relatively permissive nexus is satisfied where


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at least one element of the plaintiff’s claim arises from the [Banks’] New York contacts.”

Strauss v. Credit Lyonnais, S.A., 175 F. Supp. 3d 3, 18-19 (E.D.N.Y. 2016) (alteration omitted).

       Here, the Subpoenas seek information that arises out of the Banks’ New York contacts,

described above. The Subpoenas relate to Judgment Debtors’ transfer of counterfeiting proceeds

denominated in U.S.-dollars to Judgment Debtors’ accounts at the Banks in China. The Banks

not only used their New York-based correspondent accounts to repeatedly process wire transfers

in this forum, but also have long-established connections to New York and the United States.

See Section B.1 & 2 supra. The Banks’ ability to conduct business and effectuate wire transfers

is completely dependent upon its extensive use of its contacts in New York and the subject of the

information requested in the Subpoenas. See Gucci II, 135 F. Supp. 3d at 93-96.

       4.      Exercising Personal Jurisdiction Comports with Due Process.

               a.      The Banks Have the Necessary Minimum Contacts with New York.

       For all the same reasons discussed above, the Banks’ connections to New York also

compel the conclusion that the Banks have “purposely chosen to do business in New York” and

availed themselves “of the myriad benefits that come with establishing a presence in the United

States’ premier financial center.” See Gucci II, 135 F. Supp. 3d at 97 (citing Gucci I, 2011 WL

6156936, at *10). “It should hardly be unforeseeable” that by making use of New York’s

banking system, they “might be subjected to the burden of a lawsuit in [New York] for wrongs

related to, and arising from, that use.” Licci IV, 732 F.3d at 171-72.

               b.      Exercising Jurisdiction Over The Banks is Reasonable and Consistent
                       with Traditional Notions of Fair Play and Substantial Justice.

       In determining whether the exercise of personal jurisdiction is reasonable, courts consider

five factors. See Gucci II, 135 F. Supp. 3d at 99. As in Gucci, these factors clearly weigh in

favor of exercising personal jurisdiction:



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       1. Burden. The Banks all have branches in New York, see Weigel Decl. Exs. 8, 35, 75,
          86, 115, 222, and multiple New-York based correspondent accounts. Id. Exs., 1, 249.
          BOC and BOCOM have initiated lawsuits in this District, see Grossbaum Decl. Ex. 2,
          and have agreed, in other circumstances, to submit to personal jurisdiction in New
          York. See Nagin Decl. Ex. 1. Additionally, “the fact that the controversy at issue
          involves subpoena compliance, and not [the Banks’] own liability, gives [the Banks]
          even less cause to complain of outrage of fair play.” Gucci II, 135 F. Supp. 3d at 99.
          Although the Moving Banks’ argue that they are “burdened by potential violations of
          foreign law if they comply,” ECF No. 71 at 14, no Court has considered such
          “argument in the context of assessing reasonableness of an exercise of personal
          jurisdiction.” Id.

       2. Forum State Interests. The counterfeiters deliberately and intentionally sold and
          shipped fake products into New York in order to deceive New York residents. See
          ECF Nos. 10 at ¶¶ 2, 5-12; 7 at ¶ 16. New York and this Court both have a strong
          interest in third parties complying with discovery obligations “to ensure an efficient
          and effective judicial process . . . and enforcing . . . the Lanham Act, [which is]
          designed to protect intellectual property rights and prevent customer confusion.” Id.
          The Moving Banks’ assertion that Assignee “cannot demonstrate that it has a
          particular interest in enforcing the judgment in this forum” simply misstates the law.
          It is not Assignee’s interest that is relevant here but the forum’s itself. Id.

       3. Plaintiff’s Interests. There can be no doubt that Next has a strong interest in the
          Banks complying with the Subpoenas because the Subpoenas are the “most fruitful
          avenue for discovering the identity of additional infringers and the most effective
          measure of the revenues generated by” Judgment Debtors. Id. As it is unlikely that
          Next will be able to recover absent the Banks’ compliance with the Subpoenas,
          Next’s interest “in obtaining its desired relief in its desired forum are even greater.”
          Id.

       4. Most Efficient Resolution. Exercising personal jurisdiction over the Banks would be,
          by far, the most practical, efficient, and fastest way to resolve this dispute. It was this
          Court that awarded the Judgment at issue. “Forcing [Plaintiffs] to initiate this process
          in China would be significantly less efficient, extremely time consuming, and
          potentially fruitless.” Id.; see also Wultz v. Bank of China Ltd., 942 F. Supp. 2d 452,
          468 (S.D.N.Y. 2013) (“Wultz II”).

       5. Social Interests. New York, and the United States generally, have strong interests in
          protecting intellectual property as it is the “single greatest asset . . . of the American
          people.” Weigel Decl. Ex 251; see also id. at Exs. 252 & 253.

       5.      Any Doubt Should Be Resolved through Jurisdictional Discovery.

       Should the Court find that Next has not presented enough evidence for it to exercise

personal jurisdiction over the Banks, Next requests that the Court order jurisdictional discovery




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into the Banks’ connections to New York. See, e.g., Int'l Diamond Importers, Inc. v. Oriental

Gemco (N.Y.), Inc., 64 F. Supp. 3d 494, 507 (S.D.N.Y. 2014). While Next believes that the

evidence it has submitted is more than sufficient to establish specific personal jurisdiction over

the Banks, the materials obtained from third party sources show, at a minimum, that Next has

offered sufficiently specific allegations to obtain discovery from the Banks about their further

connections to the wire transfers at issue. Texas Intern. Magnetics, Inc. v. BASF

Aktiengesellschaft, 31 Fed. App'x 738, 739 (2d Cir. 2002).

C.     An International Comity Analysis Favors Enforcement of the Subpoenas.

       Finally, the Banks argue that they should be allowed to escape their obligations under the

Federal Rules of Civil Procedure because Chinese national policy does not allow them to convey

information about the illegal proceeds that the counterfeiters have obtained from U.S.

consumers. It is well settled, however, that “American courts are not required to adhere blindly

to the directives of a foreign blocking statute.” Gucci Am., Inc. v. Curveal Fashion, 2010 WL

808639, at *5 (S.D.N.Y. Mar. 8, 2010) (“Curveal ”) (citation omitted).

       In cases like this, where Chinese banks have resisted discovery orders from the Courts of

this District, the Second Circuit has instructed that courts should employ the five-factor test set

forth in Restatement § 442(1)(c). See, e.g., Gucci 2d Cir., 768 F.3d at 139. In addition, courts in

the Second Circuit may also consider “the hardship of compliance on the party or witness from

whom discovery is sought” and “the good faith of the party resisting discovery.” Gucci II, 135

F. Supp. 3d at 101.

       Here, these factors all weigh in favor of an order requiring production of the documents

sought. Although the Moving Banks cite to a handful of cases where courts have required

parties to resort to a formal request under the Hague Convention, the experience of the litigants

in those cases demonstrate beyond all doubt that the Hague Convention process delayed the


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matters significantly and allowed Chinese authorities to frustrate the pursuit of counterfeiters.

Indeed, both Judge Scheindlin (in a separate case against BOC) and a leading professor of

Chinese law have evaluated these productions and other evidence and concluded that The Hague

Convention does not provide a reasonable alternative. See Wultz v. Bank of China, Ltd., 910 F.

Supp. 2d 548, 557-58 (S.D.N.Y. 2012) (“Wultz I”); Declaration of Donald Clarke, dated March

16, 2018 at ¶¶ 55-60 (“Clarke Decl.”). The Second Circuit, moreover, evaluated cases where

this Court did order production of counterfeiters’ records directly from the BOC and found “no

abuse of discretion” in ordering the production. See Gucci 2d Cir., 768 F.3d at 141 (“BOC’s

arguments to the contrary are without merit”).10

        1.      The Importance of the Documents to the Litigation.

        The Subpoenas seek information related to Judgment Debtors’ bank accounts. This

information is crucial to establishing the true identities of Judgment Debtors and the location of

Judgment Debtors’ profits from their counterfeiting operation in order to satisfy the Judgment.

As Judgment Debtors have never appeared in this action, there is no alternative source of

evidence about Judgment Debtors’ ongoing counterfeiting operations or the location of their

assets, making this information essential. See Gucci I, 2011 WL 6156936, at *5-6.

        2.      The Degree of Specificity of the Request.

        The Subpoenas seek production of information limited to Judgment Debtors’ accounts at

the Banks. The requests are modeled on similar requests that several courts in this District have

previously found to be narrowly tailored to target information to enable Next to identify the true



10
     See also Gucci I, 2011 WL 6156936, at *8 (Professor Clarke, “a former practitioner of
     international law and current law professor specializing in the laws of China, credibly opines
     that a Hague Convention request issued by a United States court is not a realistic or
     meaningful option for the Plaintiffs . . . to obtain the information that they seek.”), aff’d in
     relevant part Gucci 2d Cir., 768 F.3d at 141; Gucci II, 135 F. Supp. 3d at 102-03.


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identities of Judgment Debtors and to track the revenue from their illicit counterfeiting operation.

See Gucci I, 2011 WL 6156936, at *6; Weigel Decl. Ex. 250; Curveal, 2010 WL 808639, at *3.

And these requests are well within the scope of the broad post-judgment discovery that is the

norm in both federal and New York state courts. See Republic of Argentina, 695 F.3d at 207;

New York CPLR § 5223 (“a judgment creditor may compel disclosure of all matter relevant to

the satisfaction of the judgment”).

       3.      Origin of the Information Requested.

       First, the evidence that each of the Banks maintain correspondent accounts in New York

means that certain wire transfer information responsive to the Subpoenas originated in New

York. Second, while certain information sought in the Subpoenas is currently located in China,

the information concerns proceeds of Judgment Debtors’ counterfeiting operations, which

originated not in China, but in the U.S. See Weigel Decl. Exs. 33, 49-62, 83-85, 104-08, 129-

219. Third, the Banks’ assertions that they do not have access to records of accounts maintained

outside New York do not withstand scrutiny. See ECF No. 71 at 2. Courts in this circuit have

rejected the contention that the New York branches of Chinese banks do not have possession,

custody or control of account records held at branches outside the U.S. See, e.g., Forbse, 2012

WL 191886, at *3; Wultz I, 910 F. Supp. 2d at 559.

       Many of the Banks even brag of their ability to allow their customers to obtain these

records from all around the world. See, e.g. Weigel Decl. Exs. 17, 70, 118, 236. Accordingly,

the Banks’ self-interested assertions that they do not have access to the records in China is not

sufficient to overcome the presumption of custody and control. First Nat’l City Bank of N.Y. v.

IRS, 271 F.2d 616, 618 (2d Cir. 1959) (“Clear proof of lack of possession and control is

necessary to rebut the presumption.”). Indeed, prior productions by BOC of documents located

in China undermine any argument that the Banks do not have custody or control of documents


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outside of New York. In Gucci v. Li, for example, after making the exact same argument (and

being held in contempt for failing to honor the Court’s order), BOC actually produced the bank

records from China. See Grossbaum Decl. Exs. 3-8; see also Wultz v. Bank of China Ltd., 2013

WL 11326630, at *1 (S.D.N.Y. Sept. 27, 2013). The Banks therefore can and should be

compelled to produce the counterfeiters’ records. See e.g. Marc Rich & Co., A.G. v. U.S., 707

F.2d 663, 667 (2d Cir. 1983) (the “test for the production of documents is control, not location”).

       4.      Availability of Alternative Means of Retrieving the Information.

       “[I]f the information cannot be easily obtained through alternative means, this factor . . .

weighs in favor of disclosure.” Wultz I, 910 F. Supp. 2d at 558 (emphasis in original). A Hague

Convention request need not be “futile” for this factor to weigh in favor of the requesting party.

Gucci I, 2011 WL 6156936, at *7. The Supreme Court has made clear that first resort to the

Hague Convention is not required and that “[i]n many situations the Letter of Request procedure

authorized by the Convention would be unduly time consuming and expensive, as well as less

certain to produce needed evidence than direct use of the Federal Rules.” Societe Nationale

Industrielle Aerospatiale v. U.S. Dist. Court for S. Dist. of Iowa, 482 U.S. 522, 542 (1987).

       The Banks, moreover, are simply incorrect that a Hague Convention request would

provide a reliable alternative to obtain the information requested by the Subpoenas. The best

evidence from practitioners indicates that Hague Convention requests to Chinese authorities have

not worked as intended. See Clark Decl. ¶¶ 55-60. While the Moving Banks cite to cases in

which courts directed that discovery should be pursued through a Hague Convention request,

those precedents actually confirm that the results introduced significant delay into the process

and that the resulting productions did not allow the Plaintiffs to pursue the counterfeiters. Wultz

I, 910 F. Supp. 2d at 557-558; Clark Decl. ¶¶ 57-59. In the meantime the counterfeiters can

conceal their assets and continue to violate the Lanham Act.


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       5.      Balance of National Interests.

       While this Court must consider China’s interests in its bank secrecy laws, the United

States has “a substantial interest in fully and fairly adjudicating matters before its courts” that

weighs in favor of ordering compliance with the Subpoenas. Minpeco S.A. v. Conticommodity

Servs., Inc., 116 F.R.D. 517, 523-34 (S.D.N.Y. 1987). Moreover, it “need hardly be stated that

the United States itself has a powerful interest in enforcing the acts of Congress, especially those,

such as the Lanham Act, that are designed to protect intellectual property rights and prevent

consumer confusion.” Gucci I, 2011 WL 6156936, at *11; see also Weigel Decl. Exs. 251-53.

Further, the trademark laws that Judgment Debtors violated are designed to protect the public.

Curveal, 2010 WL 808639, at *5.

       In contrast, the Banks overstate China’s interest in maintaining absolute secrecy over

bank records. See Clarke Decl. ¶¶ 10(e), 11-18. The ability of numerous Chinese governmental

organs “to waive China’s bank secrecy laws, ‘strongly suggests’ that China’s bank secrecy laws

do not ‘reflect a national policy entitled to substantial deference.’” Wultz II, 942 F. Supp. 2d at

471 n.88 (quoting Gucci I, 2011 WL 6156936, at *10).

       Furthermore, “China’s limited national interest in this case is further highlighted by the

fact that the Bank[s have] purposely chosen to do business in New York and [have] availed

[themselves] of the myriad benefits that come with establishing a presence in the United States’

premier financial center.” Gucci I, 2011 WL 6156936, at *10. “Having made such a

determination, and reaped the rewards that flow therefrom, the Bank can hardly hide behind

Chinese bank secrecy laws as a shield against the requirements faced by other United States-

based financial institutions.” Id. “If the Bank cannot, as it were, serve two masters and comply

with the lawful requirements both of the United States and [a foreign country], perhaps it should




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surrender to one sovereign or the other the privileges received therefrom.” First Nat’l City Bank

of N.Y. v. IRS, 271 F.2d 616, 620 (2d Cir. 1959).

       6.      Hardship of Compliance.

       Although the Banks offer several conclusory assertions that they will face hardship from

compliance with the Subpoenas, both logic and the record here dictate otherwise. The Banks are

all substantially owned by the Chinese government, so the risk of serious punishment is low. See

Clarke Decl. ¶¶ 20-38. Despite litigating these issues over and over, the Banks have never cited

a specific instance in which a Chinese financial institution was punished for complying with a

foreign court order. See Clarke Decl. ¶¶ 39-54. In the Gucci v. Li case, BOC boasted

extensively of its production of thousands of pages of bank records. See Grossbaum Decl. Exs.

3-8 (describing BOC’s document production). And in spite of this, BOC’s public filings show

no discernable adverse inference. See Weigel Decl. Exs. 220 & 221.

       This is why courts in this District have repeatedly found no basis for the Banks’ warnings

of imminent harm. See Wultz II, 942 F. Supp. 2d at 468 (“Chinese authorities have apparently

not yet actually sanctioned a bank for disclosing confidential information to a foreign court under

threat of sanctions in violation of Chinese law”); Forbse, 2012 WL 1918866, at * 9 (“BOC has

not actually been punished in any manner for complying with Judge Sullivan’s order”).

Although the Moving Banks’ expert here cites a number of laws and regulations, they merely

support the unremarkable proposition that there are protections in China for the secrecy of bank

records. Clarke Decl. ¶¶ 11-15. The cases cited by the Moving Banks involve instances of fraud

or incompetence, not compliance with a court order. Id. ¶¶ 39-54; see also Gucci I, 2011 WL

6156936, at *11 (rejecting BOC’s reliance on two of the same cases relied on by the Moving

Banks as evidence of hardship of compliance). As a result, this case is no different from the




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previous case that have ordered foreign banks to produce counterfeiters’ records. See Gucci I,

2011 WL 6156936, at *11; Curveal, 2010 WL 808639, at *7-8.

       7.      Good Faith of Party Resisting Discovery.

       There is ample evidence that the Banks have not acted in good faith by failing to comply

with the Subpoenas. Despite having demonstrated that it has the power to produce documents

from a Chinese branch in litigation before this Court, and having been held in contempt for

failure to comply with prior orders compelling production, Bank of China continues to refuse to

comply with the Subpoenas. See Gucci Am., Inc. v. Li, 2015 WL 7758872 (S.D.N.Y. Nov. 11,

2015), motion to stay denied, No. 15-3850 (2d Cir. Jan. 12, 2016). The Moving Banks are well

aware of this prior litigation and offer no distinguishing justification for their current refusal to

comply. Moreover, the Moving Banks provide no justification for their refusal to produce

documents responsive to the Subpoenas in connection with correspondent accounts in New

York, which does not raise the same comity concerns. Such baseless refusal is bad faith.

                                          CONCLUSION

       For the foregoing reasons, Next respectfully asks that this Court enter an order: (a)

denying Moving Banks’ motion to modify the Final Order as it applies extraterritorially; (b)

denying Moving Banks’ motion to quash the Subpoenas; (c) compelling the Banks to produce all

documents called for in the Subpoenas; and (d) awarding such relief as the Court deems proper.




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Dated: March 16, 2018
       New York, New York
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